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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA
                                                                   CASE NO. 22-60028-CR-DIMITROULEAS
                    Plaintiff

  vs.

  LUKE JOSELIN

                    Defendant


                                     ORDER GRANTING CONTINUANCE

           This matter having come before the Court on Defendant’s Ore Tenus Motion for Continuance. After

  due consideration, it is

           ORDERED AND ADJUDGED that this case is hereby continued to the two-week trial calendar

  commencing August 15, 2022 at 9:00 A.M., or as soon thereafter as the case may be called.

  COUNSEL AND DFENDANT(S) shall report to a Calendar Call to be held on Friday, August 12, 2022, at

  09:00 A.M. It being further

           ORDERED that the period from the date of this order to the time of trial shall be deemed excludable

  in computing the time within which the trial of this case must commence pursuant to Title 18, U.S.C., Section

  3161(h)(8)(A), this Court finds that the ends of justice served by continuing the trial outweigh the best interest

  of the public and the defendant(s) in a speedy trial.

           DONE AND ORDERED this 3rd day of June 2022.




 Copies to: Counsel of Record
